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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH CAROLINA

CHARLES BOGGS AND
DONNA BOGGS,                                )
                                            )
      Plaintiff,                            )       No.     7:13cv3464-HMH
                                            )
      vs.                                   )        VERIFIED CIVIL COMPLAINT
                                            )       (Unlawful Debt Collection Practices)
                                            )
OXFORD LAW, LLC                             )
                                            )
      Defendant.                            )

                                     VERIFIED COMPLAINT

      CHARLES BOGGS and DONNA BOGGS (Plaintiffs), by their attorneys, allege the

following against OXFORD LAW, LLC (Defendant):

   1. Plaintiffs’ Complaint is based on the Fair Debt Collection Practices Act, 15 U.S.C. 1692 et

      seq. (FDCPA).

                               JURISDICTION AND VENUE

   2. Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that such

      actions may be brought and heard before “any appropriate United States district court

      without regard to the amount in controversy,” and 28 U.S.C. 1367 grants this court

      supplemental jurisdiction over the state claims contained therein.

   3. Defendant conducts business in the State of South Carolina, and therefore, personal

      jurisdiction is established.

   4. Venue is proper pursuant to 28 U.S.C. 1391(b)(2).
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                                        PARTIES

5. Plaintiffs are each a natural person residing in Greer, Spartanburg County, South Carolina.

6. Defendant is a debt collector as that term is defined by 15 U.S.C. 1692a(6).

7. Defendant is a debt collection law firm with its headquarters in Minneapolis, Minnesota.

8. Defendant acted through its agents, employees, officers, members, directors, heirs,

   successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                             FACTUAL ALLEGATIONS

9. In or around November of 2013, Defendant placed a collection call to Plaintiffs seeking and

   demanding payment for an alleged debt.

10. Plaintiffs’ alleged debt owed arises from transactions for personal, family, and household

   purposes.

11. Defendant called Plaintiffs’ telephone number at 864-877-31XX.

12. Defendant places collection calls from numbers including, but not limited to, 215-526-2600.

13. On or around November 11, 2013, Defendant called Plaintiffs and left a voicemail message

   on Plaintiffs’ answering machine. See Exhibit A.

14. In the voicemail message, Defendant’s representative, “Kay Powell” failed to state the name

   of the company placing the call, failed to state that the call was from a debt collector, and

   failed to disclose that the call was being placed to collect an alleged debt. See Exhibit A.

15. In the voicemail message, Defendant’s representative, “Kay Powell”, provided reference

   number 6658577 and directed Plaintiffs to call her back at 1-877-543-6151, extension 217,

   which is a number that belongs to Defendant. See Exhibit A.

16. Defendant is using false, deceptive and misleading means in connection with attempting to
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       collect a debt by not identifying the purpose of its phone calls or that they are an attempt to

       collect a debt.

                              COUNT I
    DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT,
                    (FDCPA), 15 U.S.C. § 1692 et seq.

   17. Defendant violated the FDCPA based on the following:

           a. Defendant violated §1692d of the FDCPA by engaging in conduct the natural

                 consequence of which is to harass, oppress, and abuse Plaintiffs;

           b. Defendant violated §1692d(6) of the FDCPA by placing telephone calls withour

                 meaningful disclosure of the caller’s identity;

           c. Defendant violated §1692e of the FDCPA by using false, deceptive or misleading

                 representation with the collection of the debt;

           d. Defendant violated §1692e(10) of the FDCPA by using deceptive means in an

                 attempt to collect a debt.

           e. Defendant violated §1692e(11) of the FDCPA by failing to disclose that the call was

                 from a debt collector.

       WHEREFORE, Plaintiffs respectfully pray that judgment be entered against Defendant for

the following:

   18. Statutory damages of $1,000.00 pursuant to the Fair Debt Collection Practices Act, 15

       U.S.C. 1692k,

   19. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act, 15

       U.S.C. 1692k, and

   20. Any other relief that this Honorable Court deems appropriate.
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                                     RESPECTFULLY SUBMITTED,

                                 By: /s/ Chauntel Bland
                                     Chauntel Bland, Esq.
                                     463 Regency Park Drive
                                     Columbia SC 29210
                                     Phone: (803) 319-6262
                                     Fax: (866) 322-6815
                                     chauntel.bland@yahoo.com
